Case 09-29905   Doc 17-17 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
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Case 09-29905   Doc 17-17 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
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Case 09-29905   Doc 17-17 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
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Case 09-29905   Doc 17-17 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
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